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              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

      MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY RULE 2004
  AUTHORIZING EXAMINATION OF JPMORGAN CHASE BANK AND DIRECTING
                  THE PRODUCTION OF DOCUMENTS

        S. Gregory Hays, Chapter 7 Trustee (the “Trustee” or “Movant”) for the bankruptcy estate

 (the “Bankruptcy Estate”) of ARC Management Group, LLC, Debtor (the “Debtor”) in the above

 captioned case (the “Bankruptcy Case”), by and through counsel, hereby files this Motion for an

 Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of JPMORGAN CHASE BANK

 and Directing the Production of Documents (the “Motion”). In support of the Motion, the Movant

 respectfully shows the Court as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §1334.

 This is a core proceeding pursuant to 28 U.S.C. §157(B). Venue of this proceeding is proper in

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.      The predicates for the relief requested herein are Section 105(a) of Title 11 of the

 United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), Rule 2004 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2004-1 of the Local Rules

 of Practice for the United States Bankruptcy Court for the Northern District of Georgia.

                               PROCEDURAL BACKGROUND

        3.      On November 29, 2023 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of title 11 of the Bankruptcy Code. At such time, the Debtor had two
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 equal members, William D. Wilson (“Mr. Wilson”), who managed and served as the President of

 the Debtor, and Theresa Wilson (“Ms. Wilson”).

        4.     On August 7, 2024, Flock Financial, LLC filed a Motion to Appoint Chapter 11

 Trustee due to alleged mismanagement of funds by the Debtor. Such motion was subsequently

 withdrawn.

        5.     After irregularities were discovered in certain financial information reported by the

 Debtor, on November 7, 2024, the Debtor entered into a Consent Order Directing the Appointment

 of a Trustee [Doc. No. 224]. On November 12, 2024, the United States Trustee filed a Notice of

 Appointment of Chapter 11 Trustee and Setting Bond [Doc. No. 227] pursuant to which S. Gregory

 Hays was appointed as the Chapter 11 Trustee for the Bankruptcy Estate of the Debtor.

        6.     On November 14, 2024, the Court entered an order [Doc. No. 231] approving the

 appointment of the Trustee as Chapter 11 Trustee in the Bankruptcy Case.

        7.     On March 20, 2025, the Court entered an Order Converting Chapter 11 Case of the

 Debtor to Chapter 7 [Doc. No. 253] incident to which this Bankruptcy Case was converted to

 Chapter 7.

        8.     On March 20, 2025, the United States Trustee filed a Notice of Appointment of

 Interim Trustee and Section 341(a) Meeting of Creditors [Doc. No. 254] pursuant to which S.

 Gregory Hays was appointed as the interim Chapter 7 Trustee for the Bankruptcy Estate of the

 Debtor.

                              SUBSTANTIVE BACKGROUND

        9.     The business of the Debtor was the collection of past due accounts receivable

 incident to which the Debtor received revenue from: 1) commissions for collecting accounts of

 clients (the “Commission Accounts”); and 2) past due consumer accounts owned by the Debtor




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 (the “Portfolios”). While the Debtor routinely used agencies for the Commission Accounts, such

 agencies are unable to handle the collection of the Portfolios. To avoid draining the financial

 resources of the Debtor from the cost of additional in-house collection, Allgate Financial LLC

 (“Allgate”) was engaged to assist with the collection of the Portfolios.

        10.     Since being appointed, the Trustee, with the assistance of the professionals of the

 Trustee, has, among other things, investigated: a) the assets, liabilities, and operations of the

 Debtor; and b) transactions involving the Debtor. Upon information and belief, certain funds due

 to the Debtor may have been diverted rather than being paid to the Debtor.

        11.     The review of the Bankruptcy Case by the Trustee has prompted the need for an

 examination pursuant to Federal Rule of Bankruptcy Procedure 2004(a) and production of

 documents and information regarding the financial affairs of the Debtor.

        12.     At this juncture, the Trustee is aware that the Debtor may have had one or more

 bank accounts at JPMORGAN CHASE BANK (“Chase”). In addition, a principal of the Debtor,

 Mr. Wilson, had at least one account with Chase, including an account ending in 2388 and that he

 and his spouse, who is also an owner of the Debtor may have had other accounts at that bank. The

 Trustee does not have complete information, records and statements regarding such account(s).

 The Trustee has reason to believe that Chase may have information, bank statements, checks, wire

 transfer receipts, statements electronically stored information, knowledge, data, records,

 communications, correspondence, and/or documents (collectively, the “Documents”) relevant to

 the Bankruptcy Case and the investigation of the Trustee. Upon information and belief, these

 Documents include, but are not limited to, information, records, and statements regarding

 account(s) where funds of the Debtor may have been deposited. Since funds of the Debtor may




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 have been deposited into at least one account with Chase, these Documents may also be property

 of the Estate.

         13.      The requested document production and examination are necessary for the proper

 administration of the Bankruptcy Case and relate to the acts, conduct, property, liabilities and

 financial condition of Debtor.

                        RELIEF REQUESTED AND BASIS THEREFOR

         14.      Bankruptcy Rule 2004 authorizes the examination of any entity, whether the Debtor

 or a non-debtor entity, relating “to the acts, conduct, or property or to the liabilities and financial

 condition of the debtor, or to any matter which may affect the administration of the debtor’s estate.”

 Fed. R. Banker. P. 2004(b). Courts interpret the right to use Rule 2004 as an investigative tool very

 broadly, likening such examinations as licensed “fishing expeditions.” See In re M4 Enters, Inc.,

 190 B.R. 471, 474 (Bankr. N.D. Ga. 1995).

         15.      Section 704 of the Bankruptcy Code further sets forth the duties of the Trustee,

 including the duty to “investigate the financial affairs of the debtor.” See 11 U.S.C. § 704(a)(4).

 By this Motion, Movant seeks to investigate the financial affairs and assets of the Debtor.

         16.      By this Motion, the Movant seeks to be permitted to conduct an examination of

 Chase concerning any and all matters within the scope permitted by Rule 2004(b) (the

 “Bankruptcy Rule 2004 Exam”) and obtain the Documents from Chase. The topics to be covered

 in the Bankruptcy Rule 2004 Exam and the Documents to be produced prior to the Bankruptcy

 Rule 2004 Exam are specified in the Notice of Bankruptcy Rule 2004 Examination of JPMORGAN

 CHASE BANK and the Production of Documents attached hereto as Exhibit 2.

         WHEREFORE, the Movant prays that this Court enters an order, substantially in the

 form as the proposed order attached as Exhibit 3 hereto, that:




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    1. Grants this Motion;

    2. Compels the Chase to produce to the Movant all documents requested in Exhibit 2

       attached hereto;

    3. Authorizes the examination of Chase at a mutually convenient time and place; and

    4. Grants the Movant such other and further relief as is just and proper.

       Respectfully submitted this 4th day of April, 2025.

                    LAW OFFICES OF HENRY F. SEWELL JR., LLC

                    /s/ Henry F. Sewell, Jr.
                    Henry F. Sewell, Jr.
                    Georgia Bar No. 636265
                    Buckhead Centre
                    2964 Peachtree Road NW, Suite 555
                    Atlanta, GA 30305
                    (404) 926-0053
                    hsewell@sewellfirm.com

                    Counsel for S. Gregory Hays, Chapter 7 Trustee for the bankruptcy estate of
                    ARC Management Group, LLC, Debtor




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                                                EXHIBIT 2

              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

     NOTICE OF BANKRUPTCY RULE 2004 EXAMINATION OF JPMORGAN CHASE
                 BANK AND THE PRODUCTION OF DOCUMENTS

 TO:     JPMORGAN CHASE BANK
         c/o C T CORPORATION SYSTEM
         289 S Culver St.
         Lawrenceville, GA 30046-4805

         JPMORGAN CHASE BANK
         c/o James Dimon, CEO
         1111 Polaris Parkway
         Columbus, OH 43240

         Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

 Procedure, JPMORGAN CHASE BANK (the “Witness”) is required to designate a representative

 to attend an examination (the “Examination”) by S. Gregory Hays, Chapter 7 Trustee (the

 “Trustee” or “Movant”) for the bankruptcy estate (the “Bankruptcy Estate”) of ARC

 Management Group, LLC, Debtor (the “Debtor”) in the above captioned case (the “Bankruptcy

 Case”) and testify pursuant to the Order by the United States Bankruptcy Court for the Northern

 District of Georgia dated _________ ____, 2025 (Dkt. No. ____, the “Examination Order”)

 authorizing the Examination of JPMORGAN CHASE BANK as to any and all matters within the

 scope of the Bankruptcy Case permitted by Rule 2004(b) and directing the production of

 Documents.1


 1
   “Document” and “Documents” are used in the broadest possible sense and include, but are not limited
 to, all original and all non-identical copies of any writing or record of any type or description, including,
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         The Examination will commence at 10:00 a.m., on _________ ___, 2025, at the offices of

 the Law Offices of Henry F. Sewell, Jr., LLC, located at 2964 Peachtree Road NW, Suite 555,

 Atlanta, GA 30305, or as otherwise agreed to by the parties. The Examination will be recorded

 stenographically, and may be recorded by audio or video tape, before an officer qualified to make

 such examinations and continue from day to day until completed. The Examination will be taken

 for the purposes of discovery in the Bankruptcy Case and for all other purposes permitted by law,

 including use at trial, if and where appropriate.

         PLEASE TAKE NOTICE that JPMORGAN CHASE BANK is required to designate a

 representative to attend and testify at the Examination as to any and all matters within the scope

 of Rule 2004 of the Federal Rules of Bankruptcy Procedure, including, but not limited to, the

 following: a) any account(s) of the Debtor or any principal of the Debtor, including William D.

 Wilson and Theresa Wilson, at JPMORGAN CHASE BANK or any related entity; b) any

 Documents related to or evidencing any account(s) of the Debtor or any principal of the Debtor,




 but not limited to, the following items, and each draft thereof: writings, recordings, notes, photographs,
 financial statements, checks, account statements, wire transfer receipts, agreements, contracts, legal
 documents, communications, e-mails, Correspondence, letters, statements, reports, envelopes, phone
 messages, telephone logs, agendas, books, articles, receipts, purchase orders, sales orders, tape recordings,
 affidavits, opinions, notices, proposals, invoices, confirmations, telegrams, cables, memoranda, records,
 summaries of records, summaries of data, summaries of personal conversations or interviews, diaries,
 appointment books, appointment logs, desk calendars, pocket calendars, forecasts, statistical statements,
 accounts, work papers and related supporting documents, graphs, charts, maps, diagrams, blue prints, tables,
 indexes, pictures, tapes, microfilms, charges, analytical records, minutes or records of meetings or
 conferences, reports and/or summaries of interviews, reports and/or summaries of investigations, opinions
 or reports of consultants, appraisals, records, reports or summaries of negotiations, brochures, pamphlets,
 circulars, trade letters, press releases, stenographic, handwritten or any other notes, projections, bank
 statements, checks (front and back), check stubs or receipts, checkbooks, canceled checks, invoice
 vouchers, electronically or magnetically recorded or stored data, data tapes and sheets or data processing
 cards or discs or any other computer-related data compilation, and any other written, recorded, printed,
 typed, photographed, transcribed, punched, taped, filmed, or electronically or graphically recorded
 documents or writings of whatever description however produced or reproduced, including but not limited
 to, any information contained in any computer although not yet printed, within your possession, custody or
 control or in the possession, custody or control of any agent, employee (including without limitation,
 attorneys, accountants and investment bankers or advisors), or other Person acting on your behalf.


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 including William D. Wilson and Theresa Wilson, at JPMORGAN CHASE BANK or any related

 entity;2 and c) any and all bank statements, checks, deposit slips, wire transfer receipts, and other

 similar documents for the past five (5) years any account(s) of the Debtor or any principal of the

 Debtor, including William D. Wilson and Theresa Wilson, at JPMORGAN CHASE BANK or any

 related entity, including that certain account referenced in the Motion ending in 2388.

        PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rule 2004(c), the

 Debtor is further instructed to produce for inspection and copying at the Law Offices of Henry F.

 Sewell Jr., LLC, located at 2964 Peachtree Road NW, Suite 555, Atlanta, GA 30305, at 10:00 a.m.

 on _________ ___, 2025, or as otherwise agreed to by the parties, any Documents,

 Communications,3 or Correspondence,4 including bank statements, related to any account(s) of the

 Debtor or any principal of the Debtor, including William D. Wilson and Theresa Wilson, at

 JPMORGAN CHASE BANK or any related entity within the last five (5) years.

        Dated this ___ day of _________, 2025.

                     LAW OFFICES OF HENRY F. SEWELL JR., LLC

                     /s/ Henry F. Sewell, Jr.
                     Henry F. Sewell, Jr.
                     Georgia Bar No. 636265
                     Buckhead Centre
                     2964 Peachtree Road NW, Suite 555
                     Atlanta, GA 30305; (404) 926-0053
                     hsewell@sewellfirm.com


 2
   Capitalized, but undefined terms used herein shall have the meaning ascribed to such terms in
 the Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of
 JPMORGAN CHASE BANK and Directing the Production of Documents that was filed by the
 Movant.
 3
   “Communication” or “communications” means any contact or act by which any information or
 knowledge is transmitted or conveyed between two or more Persons and shall include, without limitation,
 written contact by such means as letters, memoranda, Correspondence, telegrams, telex, or by any
 document, and oral contact by such means as face-to-face meetings and telephone conversations.
 4
   “Correspondence” means all Documents transmitted from one Person to another, including those in
 electronic form, and all attachments to such Documents.


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               Counsel for S. Gregory Hays, Chapter 7 Trustee for the bankruptcy estate of
               ARC Management Group, LLC, Debtor




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                                         EXHIBIT 3




              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

    ORDER GRANTING MOTION FOR AN ORDER PURSUANT TO BANKRUPTCY
   RULE 2004 AUTHORIZING EXAMINATION OF JPMORGAN CHASE BANK AND
               DIRECTING THE PRODUCTION OF DOCUMENTS

         The Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of

 JPMORGAN CHASE BANK and Directing the Production of Documents [Doc. No. ____] (the

 “Motion”) filed by S. Gregory Hays, Chapter 7 Trustee (the “Trustee” or “Movant”) for the

 bankruptcy estate (the “Bankruptcy Estate”) of ARC Management Group, LLC, Debtor (the

 “Debtor”) in the above captioned case (the “Bankruptcy Case”), having been read and

 considered, it is

         ORDERED that the Motion be, and the same hereby is, granted as follows: pursuant to

 Fed. R. Bankr. P. 2004(a), the Movant is authorized to proceed with discovery and conduct an
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 examination (the “Examination”) of a representative of JPMORGAN CHASE BANK (the

 “Witness”) pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure concerning any

 and all matters within the scope permitted by Rule 2004(b), including, but not limited to, with

 regard to the topics set forth in the Trustee’s Notice of Bankruptcy Rule 2004 Examination of

 JPMORGAN CHASE BANK and the Production of Documents (the “Examination Notice”).

        ORDERED that JPMORGAN CHASE BANK is COMMANDED to designate a

 representative to attend and testify at the Examination as to any and all matters within the scope

 of the Bankruptcy Case permitted by Rule 2004(b), including, but not limited to, the following: a)

 any account(s) of the Debtor or any principal of the Debtor, including William D. Wilson and

 Theresa Wilson, at JPMORGAN CHASE BANK or any related entity; and b) any Documents

 related to any account(s) of the Debtor or any principal of the Debtor, including William D. Wilson

 and Theresa Wilson, at JPMORGAN CHASE BANK or any related entity.1 It is further

        ORDERED that the Examination may be rescheduled or adjourned from time to time and

 place to place by agreement of the parties, by announcement at the examination, or as set forth in

 a notice filed with the Court and served on the Witness and the Movant. It is further

        ORDERED that if attendance and, if applicable, production of designated documents in

 connection with said Examination, cannot be obtained voluntarily, the Movant may compel such

 attendance and production of documents as stated in Fed. R. Bankr. P. 2004(c) in the manner

 provided in Fed. R. Bankr. P. 9016, which incorporates the procedure for the issuance of a

 subpoena as set forth in Federal Rule of Civil Procedure 45. It is further




 1
   Capitalized, but undefined terms used herein shall have the meaning ascribed to such terms in
 the Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Examination of
 JPMORGAN CHASE BANK and Directing the Production of Documents that was filed by the
 Movant.


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        ORDERED that the Witness shall timely respond to any document requests made by the

 Movant in accordance with Fed. R. Bankr. P. 2004(c). The Witness may assert written objections

 in good faith to the requests as if such requests had been served pursuant to Fed. R. Bankr. P. 7034

 and shall produce to the Movant all responsive documents that are not subject to a valid timely

 asserted objection.

        The Clerk is directed to serve a copy of this Order upon counsel for the Movant, the

 Witness, and the United States Trustee.

                               ***END OF DOCUMENT***
 Prepared and Presented by:
 LAW OFFICES OF HENRY F. SEWELL JR., LLC
  /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
 (404) 926-0053; hsewell@sewellfirm.com
 Counsel for S. Gregory Hays, Chapter 7 Trustee for the bankruptcy estate of ARC Management
 Group, LLC

                                       Parties to Be Served

 Law Offices of Henry F. Sewell, Jr., LLC
 c/o Henry F. Sewell, Jr., Esq.
 Suite 555, 2964 Peachtree Road NW
 Atlanta, Georgia 30305

 Office of the U. S. Trustee
 75 Ted Turner Dr SW, Room 362
 Atlanta, GA 30303

 JPMORGAN CHASE BANK
 c/o C T CORPORATION SYSTEM
 289 S Culver St.
 Lawrenceville, GA 30046-4805

 JPMORGAN CHASE BANK
 c/o James Dimon, CEO
 1111 Polaris Parkway
 Columbus, OH 43240


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              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

                                 CERTIFICATE OF SERVICE

         This is to certify that service of the within and foregoing Motion for an Order Pursuant
 to Bankruptcy Rule 2004 Authorizing Examination of JPMORGAN CHASE BANK and Directing
 the Production of Documents was served via the United States Bankruptcy Court for the Northern
 District of Georgia's Electronic Case Filing System to all parties who have filed appearances,
 including the following:

 Office of the U. S. Trustee
 75 Ted Turner Dr SW, Room 362
 Atlanta, GA 30303

 JPMORGAN CHASE BANK
 c/o C T CORPORATION SYSTEM
 289 S Culver St.
 Lawrenceville, GA 30046-4805

 JPMORGAN CHASE BANK
 c/o James Dimon, CEO
 1111 Polaris Parkway
 Columbus, OH 43240

        This 4th day of April, 2025.

                    LAW OFFICES OF HENRY F. SEWELL JR., LLC

                    /s/ Henry F. Sewell, Jr.
                    Henry F. Sewell, Jr.
                    Georgia Bar No. 636265
                    Buckhead Centre
                    2964 Peachtree Road NW, Suite 555
                    Atlanta, GA 30305
                    (404) 926-0053
                    hsewell@sewellfirm.com
                    Counsel for S. Gregory Hays, Chapter 7 Trustee for the bankruptcy estate of
                    ARC Management Group, LLC
